          Case 3:22-cv-00039-CDL Document 1 Filed 04/05/22 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF GEORGIA
                                 ATHENS DIVISION

CINDY FAYE GUNNELLS and             )
JAMES GUNNELLS                      )
                                    )
      Plaintiffs                    )
                                    )     Civil Action No. _____________
v.                                  )
                                    )
WALMART INC.                        )
                                    )
      Defendant                     )
______________________________________________________________________________
                                         COMPLAINT

       COME NOW Plaintiffs CINDY FAYE GUNNELLS and JAMES GUNNELLS, by and

through their undersigned counsel, and file their Complaint for damages against Defendant

WALMART INC., showing as follows:

                         PARTIES, JURISDICTION, AND VENUE

                                                1.

       Plaintiff CINDY FAYE GUNNELLS is a citizen and resident of the State of Georgia.

                                                2.

       Plaintiff JAMES GUNNELLS is a citizen and resident of the State of Georgia.

                                                3.

       Defendant WALMART INC. (formerly known as “Wal-Mart Stores, Inc.” is a foreign

corporation with its principle place of business located in Bentonville, Arkansas and can be served

with process through its registered agent The Corporation Company (FL) located at 106 Colony

Park Drive Ste. 800-B, Cumming, GA 30040-2794.

                                                4.

       On or about January 28, 2018, Defendant WALMART INC. was the owner of Wal-Mart

                                                1
          Case 3:22-cv-00039-CDL Document 1 Filed 04/05/22 Page 2 of 6




Super Center, Store #1111, located in Hart County, Georgia.

                                                 5.

       This action is based upon Defendant WALMART INC.’S tortious acts and/or omissions

which occurred within the confines of Hart County, Georgia.

                                                 6.

       Jurisdiction and venue are proper with this Court because the injuries sustained by Plaintiff

CINDY FAYE GUNNELLS occurred in the State of Georgia, in Hart County.

                  RENEWAL ACTION PURSUANT TO O.C.G.A. § 9-2-61

                                                 7.

       Plaintiffs CINDY FAYE GUNNELLS and JAMES GUNNELLS reallege and incorporate

by reference all foregoing paragraphs of this Complaint as if fully stated herein.

                                                 8.

       On or about January 15, 2020, Plaintiffs CINDY FAYE GUNNELLS and JAMES

GUNNELLS filed their original Complaint against Defendant WALMART INC., formerly “Wal-

Mart Stores, Inc., in the Superior Court of Hall County, Georgia.

                                                 9.

       Defendant WALMART INC. received service of summons and a copy of the Complaint

on January 24, 2020. Defendant WALMART INC. filed a Notice of Removal on January 28, 2020

in the United States District Court for the Middle District of Georgia, Athens Division, and was

assigned Civil Action No. 3:20-cv-00011-CDL.

                                                10.

       On October 18, 2021, Plaintiffs CINDY FAYE GUNNELLS and JAMES GUNNELLS

voluntarily dismissed Civil Action No. 3:20-cv-00011-CDL without prejudice.



                                                 2
          Case 3:22-cv-00039-CDL Document 1 Filed 04/05/22 Page 3 of 6




                                                11.

       On the date of its dismissal, Civil Action No. 3:20-cv-00011-CDL was a valid, pending

action which had not been dismissed on its merits, and with all costs paid.

                                  FACTUAL ALLEGATIONS

                                                12.

       Plaintiffs CINDY FAYE GUNNELLS and JAMES GUNNELLS reallege and incorporate

by reference 1-6 paragraphs of this Complaint as if fully stated herein.

                                                13.

       That on January 28, 2018, and prior and subsequent thereto, Defendant WALMART INC.,

owned, possessed, controlled, maintained and managed a certain premises commonly described as

Wal-Mart Store #1111 located at 1572 Anderson Highway, Hartwell, Hart County, GA.

                                                14.

       That on the aforesaid date, January 28, 2018, Plaintiff CINDY FAYE GUNNELLS was

located in the toy section, walking ahead of her husband, when her feet went out from beneath her

and she hit the floor. When her husband, Plaintiff JAMES GUNNELLS, got to her, he bent down

and noticed a large puddle of water on the floor. It was currently raining outside of the store.

                                    LEGAL ALLEGATIONS

                                                15.

       Plaintiffs CINDY FAYE GUNNELLS and JAMES GUNNELLS reallege and incorporate

by reference 1-6 paragraphs of this Complaint as if fully stated herein.

                                                16.

       It was the duty of Defendant WALMART INC., by and through its duly authorized agents




                                                 3
            Case 3:22-cv-00039-CDL Document 1 Filed 04/05/22 Page 4 of 6




and servants, to exercise all due care and caution for the safety of Plaintiff CINDY FAYE

GUNNELLS and other members of the public on its premises, but Defendant WALMART INC.

did not regard its duty, or use due care on behalf of Plaintiff CINDY FAYE GUNNELLS, by and

through its authorized agents and servants in that behalf, and negligently and carelessly allowed

aforesaid premises to be deemed unsafe for customers in its store.

                                                 17.

       At the time of the incident complained of in this Complaint, Plaintiffs CINDY FAYE

GUNNELLS and JAMES GUNNELLS were married and continue to be married.

                                                 18.

       That as a result of the wrongful and negligent acts of Defendant WALMART INC., each

of the Plaintiffs were caused to suffer, and will continue to suffer in the future loss of consortium,

loss of society, affection, assistance, and conjugal fellowship, all to the detriment of their marital

relationship.

                                                 19.

       That all injuries and damages stated in Plaintiffs’ Complaint were caused solely and

proximately by the negligence of Defendant WALMART INC.

                                                 20.

       That on January 28, 2019, Defendant WALMART INC., by and through its authorized

agents and employees, was then and there negligent in one or more of the following respects:

       a)       Carelessly and negligently failed to provide a reasonably safe premises for persons

                in said store;

       b)       Carelessly and negligently permitted water to remain on the floor;

       c)       Failed to properly inspect the premises to identify any potential dangers or defects;



                                                  4
            Case 3:22-cv-00039-CDL Document 1 Filed 04/05/22 Page 5 of 6




       d)      Failed to property and adequately train its workers regarding routine inspections

               and maintenance of its store;

       e)      Carelessly and negligently failed to maintain the premises owned by Defendant

               WALMART INC. in a good and safe condition for Plaintiff CINDY FAYE

               GUNNELLS and others;

       f)      Failed otherwise to comply with the applicable laws and regulations of the State of

               Georgia and the applicable Federal laws and regulations;

       g)      Carelessly and negligently failed to exercise the degree of care required under the

               circumstances; and

       h)      Otherwise being negligent.

                                                21.

       That as a direct and proximate result of one or more of the above set forth wrongful acts of

negligence on part of Defendant WALMART INC., by and through its duly and authorized agents

and servants, Plaintiff CINDY FAYE GUNNELLS then and there suffered injuries, incurred

severe pain and suffering, and incurred medical expenses. Plaintiff CINDY FAYE GUNNELLS

has, may, and probably will for an indefinite time in the future be deprived of ordinary pleasures

of life, loss of well-being, and equanimity, and her overall health, strength, and vitality has been

greatly impaired, without any negligence of herself contributing hereto.

       WHEREFORE, having stated their Complaint, Plaintiffs pray as follows:

       a) Judgment in excess of $75,000 against the Defendant and all costs of court in Plaintiffs’

            favor;

       b) That the Court award Plaintiff reasonable attorney’s fees and costs;

       c) For a jury trial;



                                                 5
        Case 3:22-cv-00039-CDL Document 1 Filed 04/05/22 Page 6 of 6




      d) That Summons and process issue; and

      e) That the Court award Plaintiff such other and further relief as the Court deems just.

      Respectfully submitted this 5th day of April, 2022.

                                                            MANLY SHIPLEY, LLP

                                                            /s/ John B. Manly
                                                            JOHN B. MANLY
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